         Case 1:20-cr-00278-TNM Document 94-2 Filed 12/07/22 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                              x
UNI 1ED STATES OF AMERICA,

                        Plaintiff,                      1:-20-cr-00278 TNM

          -v-
                                                        ORDER
KEITH BERMAN,

                        Defendant.
                                              x

        THE MATTER having duly come before the Court on the application of Ronald S. Herzog

to be relieved as co-counsel for Keith Berman,

        IT IS on this                day of                                      , 2022

        ORDERED that Ronald S. Herzog is hereby relieved as co-counsel for Keith Berman as

of this date.




                                                  Trevor N. McFadden, U.S.D.J.




34882956.v1
